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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                      Case No. 1:13-CR-226

v.                                                             HON. ROBERT HOLMES BELL

SOTHAREE TO,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Sotharee To has filed a motion for modification or reduction of sentence (ECF No.

54) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States

Sentencing Guidelines, made retroactive by the Sentencing Commission.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       However, because defendant’s original sentence of 24 months was below the new original

guideline, defendant is not eligible for a reduction under Guideline Amendment 782. Defense

counsel has filed a response to the report of eligibility, ECF No. 66, and wishes to preserve the issue

for future consideration should the law change.
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       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(ECF No. 54) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.




Dated: June 30, 2015                         /s/ Robert Holmes Bell
                                             ROBERT HOLMES BELL
                                             UNITED STATES DISTRICT JUDGE
